USCA4 Appeal: 25-1189    Doc: 1        Filed: 02/27/2025   Pg: 1 of 2


                                                                FILED: February 27, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                     ___________________

                                           No. 25-1189
                                      (1:25-cv-00333-ABA)
                                     ___________________

        NATIONAL ASSOCIATION OF DIVERSITY OFFICERS IN HIGHER
        EDUCATION; AMERICAN ASSOCIATION OF UNIVERSITY PROFESSORS;
        RESTAURANT OPPORTUNITIES CENTERS UNITED; MAYOR AND CITY
        COUNCIL OF BALTIMORE, MARYLAND

                     Plaintiffs - Appellees

        v.

        DONALD J. TRUMP; DOROTHY FINK; DEPARTMENT OF HEALTH AND
        HUMAN SERVICES; DEPARTMENT OF EDUCATION; DENISE CARTER;
        DEPARTMENT OF LABOR; VINCENT MICONEI; DEPARTMENT OF
        INTERIOR; DOUG BURGUM; DEPARTMENT OF COMMERCE; JEREMY
        PELTER; DEPARTMENT OF AGRICULTURE; GARY WASHINGTON;
        DEPARTMENT OF ENERGY; INGRID KOLB; DEPARTMENT OF
        TRANSPORTATION; SEAN DUFFY; DEPARTMENT OF JUSTICE; JAMES
        MCHENRY; NATIONAL SCIENCE FOUNDATION; SETHURAMAN
        PANCHANATHAN; OFFICE OF MANAGEMENT AND BUDGET;
        MATTHEW VAETH

                     Defendants - Appellants


        This case has been opened on appeal.

        Originating Court                        United States District Court for the
                                                 District of Maryland at Baltimore
        Originating Case Number                  1:25-cv-00333-ABA
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        Date notice of appeal filed in             02/24/2025
        originating court:
        Appellants                                 Donald J. Trump, et al.
        Appellate Case Number                      25-1189
        Case Manager                               Cyndi Halupa
                                                   804-916-2704
